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 8
 9
                             UNITED STATES DISTRICT COURT
10
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,          )   CR No. 07-CR-00016-003-AWI
                                        )
13                      Plaintiff,      )   ORDER TO CONTINUE SENTENCING
                                        )
14                      v.              )   Current Date: December 13, 2010
                                        )
15   ALBERTO PEREZ, et al.,             )   Proposed Date: January 24, 2011
                                        )
16                                      )
                        Defendants.     )
17                                      )
18
          For good cause shown, IT IS HEREBY ORDERED, that sentencing
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     be continued from December 13, 2010, to January 24, 2011, at
20
     11:00 AM.
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22
     IT IS SO ORDERED.
23
24   Dated:         November 2, 2010
     0m8i78                       CHIEF UNITED STATES DISTRICT JUDGE
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27
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